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     Federal Defender
2    MICHAEL PETRIK, Jr., #177913
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
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7
8                                       UNITED STATES DISTRICT COURT
9                                      EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                      )   Case No. 13-53 MCE
                                                    )
11                              Plaintiff,          )   STIPULATION AND ORDER TO CONTINUE
                                                    )   STATUS CONFERENCE TO APRIL 23, 2015,
12           v.                                     )   AT 9:00 A.M.
                                                    )
13   OMAR VERA, JOSE MORALES                        )   Date: March 19, 2015
     CASTELLON, EDUARDO REYES,                      )   Time: 9:00 a.m.
14                                                  )   Judge: Honorable Morrison C. England, Jr.
                                Defendant.          )
15                                                  )
16
17             The parties stipulate, through respective counsel, that the Court should continue the status
18   conference set for March 19, 2015, at 9:00 a.m., to April 23, 2015, at 9:00 a.m.
19             Defense counsel require the continuance to consult with their clients about proposed plea
20   agreements, and to negotiate with the government. Counsel for Mr. Castellon has limited
21   availability because he has started a trial in Superior Court.
22             Counsel and the defendants agree that the Court should exclude the time from the date of
23   this order through April 23, 2015, when it computes the time within which trial must commence
24   under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
25   ///
26   ///
27   ///
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      Stipulation to Continue                           -1-                                       13-53 MCE
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1              Counsel and the defendants also agree that the ends of justice served by the Court
2    granting this continuance outweigh the best interests of the public and the defendants in a speedy
3    trial.

4    DATED: March 11, 2015                          HEATHER E. WILLIAMS
                                                    Federal Defender
5
                                                    /s/ M.Petrik__________
6                                                   MICHAEL PETRIK, Jr.
7                                                   Assistant Federal Defender
                                                    Attorneys for Mr. Vera
8
9    DATED: March 11, 2015
10
                                                    /s/ M.Petrik for_______
11                                                  KYLE RODGER KNAPP
                                                    Attorney for Mr. Castellon
12
13   DATED: March 11, 2015
14
                                                    /s/ M.Petrik for_______
15                                                  RONALD JAMES PETERS
                                                    Attorney for Mr. Reyes
16
17   DATED: March 11, 2015                          BENJAMIN B. WAGNER
18                                                  United States Attorney

19                                                  /s/ M.Petrik for_______
                                                    JASON HITT
20                                                  Assistant U.S. Attorney
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      Stipulation to Continue                         -2-                                           13-53 MCE
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1                                                 ORDER
2              The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
4    that the failure to grant a continuance in this case would deny defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and defendants in a speedy trial. The Court orders the status conference rescheduled for
8    April 23, 2015, at 9:00 a.m. The Court orders the time from the date of this order, up to and
9    including April 23, 2015, excluded from computation of time within which the trial of this case
10   must commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code
11   T4.
12             IT IS SO ORDERED.
13   Dated: March 12, 2015
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      Stipulation to Continue                          -3-                                        13-53 MCE
